
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $1,765.00 forpersonal property damage caused when respondent was using a tamper on a railroad near claimant’s home and a hydraulic hose burst on the machine and sprayed hydraulic fluid on claimant’s property located in Moorefield, Hardy County.
In its Answer, respondent admits the validity of the claim and that the amount is fair and reasonable. The Court is aware that respondent does not have a fiscal method for paying claims of this nature; therefore, the claim has been submitted to this Court for determination.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $1,765.00.
Award of $ 1,765.00.
